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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

VERONICA KARIUKI,                                  :
                                                   :
              Plaintiff,                           :
                                                   :       Case No. 1:15-cv-00934-TSE-JFA
       v.                                          :
                                                   :
ETEAM, INC.,                                       :
                                                   :
              Defendant.                           :

                                          ANSWER

       Defendant eTeam, Inc., by counsel, Carr Maloney P.C., answers Plaintiff’s Complaint as

follows:

       1.     Defendant denies the allegations in paragraph 1 of Plaintiff’s Complaint.

       2.     Paragraph 2 of Plaintiff’s Complaint is a jurisdictional allegation requiring no

response. To the extent a response is required, Defendant denies same and demands strict proof

thereof.

       3.     Defendant has not been provided with a copy of the notice of right to sue, and

therefore, Defendant lacks sufficient information to admit or deny the allegations contained in

paragraph 3 of Plaintiff’s Complaint. To the extent a response is required, Defendant denies

same and demands strict proof thereof.

       4.     Paragraph 4 of Plaintiff’s Complaint is a jurisdictional allegation requiring no

response. To the extent a response is required, Defendant denies same and demands strict proof

thereof.
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       5.      Defendant lacks sufficient information to admit or deny the allegations contained

in paragraph 5 of Plaintiff’s Complaint. To the extent a response is required, Defendant denies

same and demands strict proof thereof.

       6.      Defendant admits that it is an “employer” within the meaning of Title VII, Section

701, 42 U.S.C. § 2000e(b). Defendant denies the remaining allegations in paragraph 6 of

Plaintiff’s Complaint.

       7.      Paragraph 7 of Plaintiff’s Complaint is a jurisdictional allegation requiring no

response. To the extent a response is required, Defendant does not deny that it is a corporation

doing business in the eastern district of the Commonwealth of Virginia and elsewhere.

       8.      Defendant admits the allegations in paragraph 8 of Plaintiff’s Complaint.

       9.      Defendant lacks sufficient information to admit or deny the allegations contained

in paragraph 9 of Plaintiff’s Complaint. To the extent a response is required, Defendant denies

same and demands strict proof thereof.

       10.     Defendant lacks sufficient information to admit or deny the allegations contained

in paragraph 10 of Plaintiff’s Complaint. To the extent a response is required, Defendant denies

same and demands strict proof thereof.

       11.     Defendant denies the allegations in paragraph 11 of Plaintiff’s Complaint.

       12.     Defendant admits that Plaintiff provided her resume but denies the remaining

factual allegations in paragraph 12 of Plaintiff’s Complaint.

       13.     Defendant denies the allegations in paragraph 13 of Plaintiff’s Complaint.

       14.     Defendant denies that any such email was sent by Mr. Nagdev. Defendant lacks

sufficient information to admit or deny the remaining allegations contained in paragraph 14 of




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Plaintiff’s Complaint. To the extent a response is required, Defendant denies same and demands

strict proof thereof.

        15.     Defendant admits the allegations in paragraph 15 of Plaintiff’s Complaint.

        16.     Defendant admits the allegations in paragraph 16 of Plaintiff’s Complaint solely

to the extent it cites language in the determination.

        17.     Defendant admits the allegations in paragraph 17 of Plaintiff’s Complaint solely

to the extent it cites language in the determination.

        18.     Defendant admits the allegations in paragraph 18 of Plaintiff’s Complaint solely

to the extent it cites language in the determination.

        19.     Defendant incorporates by reference its above responses to the allegations

contained in paragraphs 1-18 of Plaintiff’s Complaint.

        20.     Defendant denies the allegations in paragraph 20 of Plaintiff’s Complaint.

        21.     Defendant incorporates by reference its above responses to the allegations

contained in paragraphs 1-20 of Plaintiff’s Complaint.

        22.     Defendant denies the allegations in paragraph 22 of Plaintiff’s Complaint.

                                  AFFIRMATIVE DEFENSES

        1.      Plaintiff’s Complaint fails to state a claim upon which relief may be granted.

        2.      Defendant reserves the right to raise a statute of limitations depending upon facts

to be further developed in discovery.

        3.      Plaintiff’s claims for relief are or may be barred and/or limited to the extent that

the Plaintiff has failed to act reasonable to mitigate the damages allegedly sustained.




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       4.      Any damages recovered by Plaintiff must be offset by any compensation or

remuneration that the Plaintiff received or could have received during the period for which

Plaintiff is seeking to recover damages.

       5.      All alleged acts or omissions with respect to the Plaintiff and referenced in

Plaintiff’s Complaint were done in good faith and were for lawful, legitimate, nondiscriminatory

and nonpretextual reasons.

       6.      Defendant denies that the Plaintiff was subjected to any unlawful or

discriminatory employment practice, but states that if such a practice is found, the same

employment decision regarding the Plaintiff would have been made in the absence of any

discriminatory motive.

       7.      Some or all of Plaintiff’s claims may be barred by the equitable doctrines of

waiver, estoppel, unclean hands and laches.

       8.      Plaintiff’s Complaint is barred, in whole or in part, because Defendant’s actions

were taken for legitimate, nondiscriminatory, nonretaliatory and nonpretextual reasons.

       9.      Plaintiff cannot establish a prima facie claim necessary to recover under the

applicable statutes.

       10.     Even if Plaintiff could establish a prima facie claim, it cannot establish that

Defendant’s legitimate, nondiscriminatory, and nonretaliatory reasons for its actions were a

pretext for discrimination or retaliation.

       11.     Defendant reserves the right to plead additional affirmative defenses of which it

becomes aware through formal or informal discovery.

       WHEREFORE, Defendant eTeam, Inc. respectfully requests that Plaintiff’s Complaint be

dismissed with prejudice, with costs, attorney’s fees and interest as provided by law assessed



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against the Plaintiff, and that Defendant be granted such other and further relief as this

Honorable Court deems just and proper.

                                         ETEAM, INC.
                                         By counsel

                                         CARR MALONEY P.C.



                                         /s/ Tina M. Maiolo
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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing Answer was electronically filed this
  th
24 day of August, 2015 and served electronically upon:

                           J. Andrew Baxter
                           Merritt J. Green
                           Connie M. Ng
                           General Counsel, P.C.
                           6849 Old Dominion Drive, Suite 220
                           McLean, Virginia 22101


                                        ETEAM, INC.
                                        By counsel

                                        CARR MALONEY P.C.



                                        /s/ Tina M. Maiolo
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